This is an appeal from an order denying a new trial, after an order revoking the probate of the will of William Jones, deceased. All the questions involved in this appeal were involved and were presented on the appeal from the said order of revocation, Estate of Jones, (Sac. No. 2032), ante, p. 108, [135 P. 288]. In the opinion this day filed in that case these questions were discussed and decided, and the order of revocation was thereupon affirmed. The parties have stipulated that this appeal may be submitted and decided upon the briefs filed in that case, and the case has been submitted accordingly. No further discussion is necessary here, since the facts are the same as in the other case.
The order denying the motion for a new trial is affirmed.
Angellotti, J., and Sloss, J. concurred. *Page 779 